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EXHIBIT
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Ann Thorse
sans

button [29 and Cabro! modifications [31] of the original
Bentall procecture [24], and ensures the safe repair and
reinforcement af even the most seriously dissected cor-
onary orifices. It has been very helpful in achieving a
strilingly low cperative mortality with radical reot re-
placement in acute dissections. The overall results of the
utton modification of the Bentall procedure in this
series of compares very favorably with results
obtained with alternative techniques, including valve-
sparing replacement and pulmonary autografts, with
durable long-term results. Event-free survival was 79.1%
+ 3% at 5 years and 62.3% + 7% at & years. There were
fewer late reoperations and deaths related to

the aorta or the repair in this group compared with
patients who had repairs other than the button modif-
cations of the Bentall Cardiac and distal
aorta-related events account for most cases of long-term

attrition (Figure 2).

Conclusions

Currently available surgteal techniques yield good im-
mediate and long-term results with minimal risk in
elective operations on the ascending aorta and aortic
root. The m: of emexgency operation still remains
high. The accurrence of dissection adversely affects long-
term outlook. In ight of surgical advances, the previously
accepted indications for elective replacement of the di-
lated ascending aorta may be too conservative, and a
revision is needed toward more Hberal indications in
order to prevent lethal complications and emergency
operations. New data from detailed natural history stud-
ies will undoubtedly help in refining operative guide-
lines. Appropriate choice of surgical procedure results in

excellent long-term results, but cardiac Fc and distal aorta-:

related events ultimately determine survival.

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"SESSION 1: ASCENDING AORTA

 

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Surgical Treatment of the Dilated Ascending Aorta:

When and How?

M. Arisan Ergin, MD, PhD, David Spielvogel, MD, Anil Apaydin, MD,
Steven L. Lansman, MD, PhD, Jock N. McCullough, MD, Jan D. Galla, MD, PhD, and

Randall B. Griepp, MD

Department af Cardiothoracic Surgery, Mount Sinai Medical Center, New York. New York

Background. The aorta is considered pathologically
dilated if the diameters of the ascending aorla and the
aortic root exceed the norms for a given age and body
size, A 50% increase over the normal diameter is consid-
ered aneurysmal dilatation. Such dilatation of the as-
cending aorta frequently leads to significant aarlic val-
vular insufficiency, even in the presence of an otherwise
normal valve, The dilated or aneurysmal ascending aorta
is at risk for spontaneous rupture or dissection. The
magnitude of this risk is clasely related to the size of the
aorta and the underlying pathology of the aortic wall.
The occurrence of rupture or dissection adversely alters
natural history and survival even after successful emer-
gency surgical treatment.

Methods. In recommending elective surgery for the
dilated ascending aorta, the patient's age, the relative size
of the aorta, the structure and function of the aortic valve,
and the pathology of the aortic wall have to be consid-
ered. The indications for replacement of the ascending
aorla in patients with Marfan’s syndrome, acute dissec-
tion, intramural hematoma, and endocarditis with annu-
lar destruction are supported by solid clinical informa-
tion. Surgical guidelines for intervening in degenerative
dilatation of the ascending aorta, however, especially
when tis discovery is incidental to other cardiac opera-
tions, remain mostly empiric because of lack of natural
history studies. The association of a bicuspid aortic valve
with ascending aortic dilatation requires special
attention.

eplacement of the ascending aorta is the most fre-
R quently performed procedure for thoracie aortic
pathology [1]. Current indications for replacement of the
ascending aorta and aortic root may be divided into two
braad categories.

Mandatory Indications

These are usually urgent situations involving acute dis-
section of the ascending aorta and related pathology,

 

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Results, There are a number of current techniques for
surgical restoration of the functional and anatomical
integrity of the aortic root. The choice of procedure is
influenced by careful consideration of multiple factors,
such as the patient's age and anticipated survival time;
underlying aortic pathology; anatomical considerations
related to the aortic valve leaflets, annulus, sinuses, and
the sino-lubular ridge; the condition of the distal aorta;
the likelihood of future distal operation; the risk of
anticoagulation; and, of course, the surgeon’s experience
with the technique. Currently, elective root replacement
with an appropriately chosen technique should not carry
an operative risk much higher than that of routine aortic
valve replacement. Composite replacement of the aortic
valve and the ascending aorta, as originally described by
Bentall, DeBono and Edwards (classic Bentall), or modi-
fied by Kouchoukos (button Bentall}, remains the most
versatile and widely applied method, Since 1989, the
button modification of the Bentall procedure has been
used in 250 patients at Mount Sinai Medical Center, with
a hospital mortality of 4". and excellent long-term sur-
vival. In this group, age was the only predictor of
operative risk (age > 60 years, mortality 7.3% [9/124]
compared with age < 60, mortality 0.8% [1/126], » = 0.02),

Conclusions, This modification of the Bentall proce-
dure has set a standard for evaluating the more recently
introduced methods of aortic root repair.

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spontaneous rupture [2], and intramural hematoma [3].
The value of replacing the entire aortic root for severe
destruction of the aortic annulus due to bacterial endo-
carditis is also well established [4]. Solid clinical experi-
ence and information support these indications.

Elective Indications

These are relative indications, since these operations are
generally prophylactic in nature, aiming to prevent pro-
gression of aortic insufficiency and rupture or dissection
of the aorta: in Marfan’s syndrome related pathology, in
the presence of degenerative dilatation of the ascending
aorta [6) with or without a bicuspid aortic valve [7], and in
chronic dissection of the ascending aorta. Severe athero-

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sclerosis of the ascending sorta (with mobile plaque
causing embolization, or discovered during unrelated
cardiac surgery) is an emerging indication for elective
‘yeplacement of the ascending aorta [8, 9]. The decision to
operate in these cases is frequently not simple: there is a
substanual gray area that changes with the times, greatly
influenced by the introduction of new, safe, and effective
surgical techniques. The following is a brief review of the
current indications for replacement of the ascending
aorta, the timing of the operation, and the choice of
surgical technique.

Definition

hy in general, and especially transesoph-
ageal echo hy, remains the main source of
information for definition of.a norm for ascending aortic
size. The normal diameter of the a:
- sinuses, and the aortic annulus correlates with body size
and age in both men and women [10]. Body size is the
predominant determinant of aortic annular and sinus of
Valsalva dimensions, whereas age is a more important
determinant of the size of the sino-tubular junction and
the ascending aorta proper [10]. The effect of age on the
dimension of the ascending aorta is thought to be the
result of age-related fragmentation and loss of elastin in
the media, leading to overall of the aortic wall
[11}. Smoking accelerates the elastin depletion of the
aging aorta by increasing the levels of circulating elasto-
lytic enzymes [12]. The dimension of the aortic root in the
shows substantial variability.. Pre-
dicted dimensions at the level of the sinuses can be
calculated by the use of the formula described
by Roman and associates [10}: for an individual 18-409
years of age, average sinus dimension (cm) = 0.97 +
(1.12 X BSA [m?)). Similar formulas exist for children and
for adults over the age of 40. The use of nomograms for
individuals increases the of determination of
the presence of aortic dilatation by enabling comparison
of predicted values with actual measured dimensions,
Specificity of 98% is attained by the use of an upper
normal limit of 2.1 cm/m? for the aortic diameter at the
sinuses [10]. The aorta is pathologically dilated ff the
* diameter exceeds the norm for a given age and body size.
An aneurysm is defined as a 50% increase over the
normal diameter [13]. Use of an adjusted nomogram for
Marfan has been in order to com
sate for their relatively tall stature [14}. .

Pathologic and Clinical Consequences of a

Dilated Ascending Aorta

Since there are several important physiologic and patho-
logical ences of a dilated ascending aorta, the
size of the ascending aorta remains the most important

component of the equation that leads to a decision to.

replace the aorta on an elective basis. Dilata-
tion of the asceriding aorta is currently the most common
cause of isdlated aortic valvular regurgitation [15]. A
normal aortic valve becomes incompetent as a result of

aorta, acrtic .

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“the passive stretching of its leaflets and commissures due

to dilatation of the sino-tubular ridge, the
aorta, or the sinuses, although the aortic annulus often
remains normal in size.

There is a clear relationship between a dilated ascand-
ing aorta and a bicuspid aortic valve, even in the absence

‘of significant hemodynamic dysfunction of the valve.

TE caethe cad BEL A feeding Sbnoemalitios .
of the aortic wall [16]. A familial clustering of bicuspid
valves was, described recently, suggesting ‘a possible
genetic connection [17], which in turn raises the question
of routine screening for siblings of patients with

_ dortic valves. The use of adrenergic beta-blocker therapy

to retard continued expansion in such individuals with
borderline dilatation of the ascentling aorta remains an
open question [7], A growing knowledge of the close
relationship between a bicuspid valve and a dilated
ascending aorta sometimes reprgsents a particular di-
lemma for the operating surgeon. The most.important
consequence of an enlarged ascending aortic dimension
is the proportional increase in its incidence of rupture,
dissection, and the latter especially after
valve replacement for a bicuspid valve.

There remains a considerable void in our knowledge of
the natural history of ascending aortic dilatation. Al-
though there is solid information available in Marfan’s
syndrome, such data are lacking for other pathologies.
Therefore, in the absence of a better measure, some data
are routinely from the far better documented
natural history of the descending aorta. With this caveat

.in mind, there are three clues that connect increasing size

of the ascending aorta to the incidence of rupture or
dissection:

1, Anascending aortic diameter of 6 cm emerges asthe _*
mean or the median diameter quite consistently in
all reliable contemporary natural studies,
Coady and associates found that a diameter of 6 em
is the “hinge point,” beyond which there is a 30%
increase in the probability of rupture [168],

2. The measured diameter of the sorta at the time of
acute dissection in all series is si
than the norm. Epperiein and colleagues rovorten mee
mean aortic root diameter of 3.2 cm/m* in
type I dissection [19]. Similarly, in our experience
with more than 140 acute type A dissections, the

aorta was dilated at the time of presen-
tation in 73%, with a mean diameter of 4.8 cm.

3. The incidence of erative dissection is signifi-
cantly higher if the aorta is 5 am or larger at the time
of zortie valve replacement. Prenger and associates
[32] reported an incidence of 27% if the aorta was
5 cm or larger, as opposed to a 0.6% incidence of
postoperative dissection if aortic size was normal.
This is a strong in favor of dealing with a
dilated aorta at the time of valve replacement in .
order to prevent postoperative dissection.

After size, pathology is the second most important
detexminant of the risk of ruptura or dissection in a
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Ann Theme
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Table 1, Current Guidelines for Surgery

 

 

 

Adult Age < 40 years BSA 2 m? Diameter Ratlo
Marfan’‘s (-+femily history) >43 13

Chronic dissections 743 13

Degenerative without AI > 4s Ww

Degenerative with AI (degree!) >48 15

Bleuspid valve with dysfunction >45 4

Other cardiac surgery > 48 18

Surgeons’ experience +05 Ow
AI s aostic insufficiency.

experience of the surgeon with aortic root replacement
has to be taken into account in recommending relatively
early operation to an otherwise asymptomatic patient
We therefore would suggest adding 0.15 to the ratio or
05 em to the diameter to account for this factor in
different hands. This would bring these recommenda-
tions more in Hne with some of the more aggressive
traditional criteria (Table 1). Adherence to these guide-
lines will not eliminate the occurrence of rupture or
dissection, but would be expected to halve the incidence
of lethal complications and prevent substantial numbers
of emergency operations, ‘

Choice of Procedure

Currently, there are a variety of operative techniques
available for surgical treatment of a dilated ascending
aorta. These represent a large spectrum, ranging from
separate replacement of the aostic valve and ascending
aorta to the most widely appiled and versatile technique
of composite root replacement with one of the three
principal medifications of the technique originally de-
scribed by Bentail and DeBono [24], and also include the
more recently introduced techniques of pulmonary au-
tograft [25] and valve-sparing root replacement [26].
Among these alternatives, the often neglected but time-
tested method of aortic root wrapping is worth mention-
ing. It has the advantage of simplicity, and more impor-
tantly, preserves the endothelial lining of the ascending
aorta. There is evidence to suggest that, when done
properly, wrapping is a good compromise in older pa-
tents with a borderline dilated aorta, especially during
operations for other cardiac pathology [27]. Choosing the
technique for the particular patient and
pathology requires careful consideration of many factors,
including the surgeon’s experience with the particular
method. Among these factors are:

1. Age and expected survival. In an older, high-risk
patient, simple valve replacement and wrapping of
the aorta may be a good compromise solution [27].
Similarly, separate valve and ascending aortic re-
placement may be appropriate therapy if life expect-
ancy is Hmited (28).

2. Underlying pathology and quality of the aortic wall.
A weakened aortic wall in Marfan syndrome or
dissection will require complete excision of the
dilated portion of the aorta and the reot. The button

ERGINETAL 1837
ASCENDING AORTA INDICATIONS, SURGERY

modification of the Bentall procedure has proven in
our hands the most versatile and durable recon-
struction [29]. Sparing the aortic valve in Marfan
syndrome is controversial [30].

3. Anatomic condition of the aortic valve, the sinuses,
and the sino-tubular ridge. The anatomic condition
of the important elements of aortic valvular
usually dictate whether the-valve can be spared or
whether a separate valve-ascending aortic xeplace-
ment may be feasible. In cur experience, the ideal
candidate for a valve-sparing root replacement is a
patient with a normal valve and annulus in whom a
dilated sino-tubular ridge or sinuses lead to aortic
insufficiency. A separate valve and ascending aorta
replacement that leaves behind portions of dilated
sinuses is a compromise that should be avoided in
patients with a relatively long life expectancy [28].

4, Condition of the distal aorta. If the condition of the

distal aorta mandates future operation for associ-
ated distal arch or descending or dissec-
tion, then a fail-safe initial repair at the root is of
paramount importance. The presence of even mod-
est degrees of aortic regurgitation may substantially
complicate an operation on the distal aorta, which
frequently requires the utilization of hypothermic
circulatory arrest. In these cases, we would prefer a
composite replacement rather than a vaive-sparing
procedure.

5. The risk of anticoagulation. Considerations of long-
term anticoagulation risk weigh heavily in favor of a
vaive-sparing operation if feasible, a pulmonary

autograft, or use of a composite graft with a tissue

6. Presence of active annular infection. Although there |
is little evidence in the literature to support it, many
surgeons believe an allograft may be preferable for
rost replacement in this situation.

Table 2 summarizes our current preferences for vari-
ous kinds of pathology. ,

 

 

 

Clinical Experience
Between January 1988 and February 1998, a total of 497
patients underwent operations at Mount Sinai Medical
Table 2, Surgical Options
Valve Annutua Sin/ST-Rdg Precedure
+++ (old) N N Aorta + valve, wrap (7°
+++ N N Ben

(young) tall Pennary
N . N +++  Valve-sparing
N +++ +++ Bentall, valvo-cparing (7)
N (Marfan) +++ +++ . Bentall
N (Marfan) N +++ Bentall, valve-sparing (2)
Infected N N Bentall with-without
*(?) = secondary choice.
No normal . +++ o severe pathology autograft.
Case 1:20-cv-12093-NMG

1838 ERGIN ET AL
* "ASCENDING AORTA INDICATIONS, SURGERY

Fig 1. The distribution of procedures on

Document 1-2 Filed 11/20/20 Page 7 of 22

Ann Thorac
199967;

 

PROCEDURE - AGE and MORTALITY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

BENTALL Ao- VALVE

 

 

 

_ Center on the aortic root, the ascending aorta, and the
proximal portion of the aortic arch exclusive of total arch
replacement. The indications for surgery in these cases
were in accord with the clinical philosophy outlined
above. Dissections, both acute and chronic, and degen-
erative dilatation of the ascending aorta accounted for
about 60% of the cases.

The overall hospital mortality was 8% (40/497). Mortal-
ity was significantly higher in urgent operations (12.3%,
23/187) than in elective (5.5%, 17/310); p = 0.05
{chi square]) and in patients older than 60 years (12.1%,
34/281) compared with those younger than 60 (2.8%,
6/216; p = 0.01 [chi square]). Interestingly enough, the
presence of acute dissection did not significantly influ-
ence operative mortality (12.2%, 15/123, vs 9.9%, 10/101).

Composite replacement of the aortic valve and the

Fig 2. Comparative actuarial survival

ascending aorta, with one of the three principal modifi-
cations of the Bentall procedure, was the most common
surgical method, used in 311 patients. The proportions of
the various surgical options and their associated mortal-
ity with respect to age are shown in Figure 1. The button
modification of the Bentall was used in 250
patients, with a 4% overall hospital mortality (10/250).
Again, age was the only significant factor influencing
operative risk. Mortality in patients older than 60 years
was 7.3% (9/124) compared with 0.8% (1/126) in patients
younger than 60 (p = 0.02 [chi square]). Urgency of
operation and/or presence of acute dissection did not
increase mortality significantly. A hybrid technique in
which the coronary orifices are dissected out as buttons
surrounded by aortic tissue before end-to-end anastomo-
sis to the Cabrol graft [2] combines the principles of the

 

 

 

 

 

curves for patients after the button modifi- 1;
cation of the Bentall and other “ig
types of repair. The distribution of cardiac eS
and aorta-related events is shown. 4
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YEARS |
Case 1:20-cv-12093-NMG Document 1-2 Filed 11/20/20 Page 8 of 22

Ann Thorce
apenas”

button [29] and Cabrol modifications [31] of the original
Bentall {24}, and ensures the safe repair and
reinforcement of even the most seriously dissected cor-
onary orifices. It has been very helpful in achieving a
strikingly low operative mortality with radical root re-
placement in acute dissections. The overall results of the
button modification of .the Bentall procedure in this
series of patients compares very favorably with results
obtained with alternative techniques, including valve-
replacement and pulmonary autografts, with
durable long-term results. Event-free survival was 79.1%
+ 3% at 5 years and 62.3% + 7% at 8 years. There were
significantly fewer late reoperations and deaths related to
the aorta or the repair in this group compared with
patients who had repairs other than the button modifi-
cations of the Bentall procedure. Cardiac and distal
aorta-related events account for most cases of long-term

attrition (Figure 2).

Conclusions

Currently available surgical techniques yield goed im-
mediate and long-term results with minimal risk in
elective operations on the ascending aorta and aortic
root. The mortality of emergency operation still remains
high. The occurrence of dissection adversely affects long-
term outlook. In light of surgical advances, the previously
accepted indications for elective replacement of the di-
lated ascending aorta may be too conservative, and a
revision is needed taward more Hberal indications in
order to prevent lethal complications and emergency

operations. New data from detailed natural history stud-
fes will undoubtedly help in refining operative guide-
Hines. Appropriate choice of results in

excellent long-term results, but cardiac and distal aorta--

related events ultimately determine survival.

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Case 1:20-cv-12093-NMG Document 1-2 Filed 11/20/20 Page 9 of 22

DEPARTMENT OF VETERANS AFFAIRS
VA Boston Healthcare System
Brockton VA Medical Center

940 Belmont Street, Brockton. MA, 02301
Health Care for Reentry Veterans

October 2, 2020
RE: Emory Gordon Snell Jr.

This letter is to confirm that Mr. Emory Snell Jr. is a United States Navy veteran who is eligible for
services through the Department of Veterans Affairs (VA). He served in the United States Navy from
January 1974 to May 1975 and received an Honorable discharge.

Based upon this eligibility status, Mr. Snell is eligible for healthcare and various programming through
the Department of Veterans Affairs. These services and programs may include: acute inpatient care.
residential treatment, transitional housing programs, outpatient mental health and substance abuse
counseling, primary care, and other specialty care clinic services.

If Mr. Snell is granted a favorable determination at the time of his hearing with the Parole Board, Health
Care for Re-entry Veterans (HCRV) staff from the VA will coordinate with correctional facility re-entry
staff to conduct further evaluation to confirm re-entry/release planning needs.

The HCRV program is designed to promote success and prevent homelessness among veterans returning
to the community after incarceration. HCRV services include (1) outreach and pre-release assessments
services for veterans in jail/prison, (2) referrals and linkages to medical, mental health and social services,
including employment services upon release, and (3) short-term case management assistance upon
release.

Please feel free to contact me with any additional questions or concerns you may have with respect to the

Health Care for Re-entry Veterans (HCRV) program or VA services/programs. I can be reached at 781-
825-3816.

Sincerely,

 

Rachel Seed, LICSW
Veterans Justice Outreach/Healthcare for Reentry Veterans Coordinator

 

 
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The Commonwealth of Massachusetts

   

WASSACHUSETTs
Executive Office of Public Safety ef Security SS
Department of Correction
MCI Shirley
P.O. Box 1218
CHARLES D. BAKER Shirley, MA 01464
Governor Tel: (978) 425-4341 a

www.mass.gov/doc

CHRISTOPHER M. FALLON
JENNIFER A. GAFFNEY

KARYN E. POLITO MICHAEL G,. GRANT
Liettenant Governor PAUL J. HENDERSON
THOMAS J. PRESTON
THOMAS TURCO, III Deputy Comunissioners
Secretary
MICHAEL RODRIGUES

Superintendent

October 27, 2020

Emory Snell W59191
MCI Shirley/A-2
P.O. Box 1218
Shirley, MA 01464

Dear Mr. Snell,

Your correspondence to Commissioner Mici has been referred to me regarding an approved ADA reasonable
accommodation from James O’Gara Department ADA Coordinator for inmates, to travel by state car. As noted
in Mr. O’Gara’s letter dated 11/6/2019, reasonable accommodation to travel by state car was due to an active

_ “no stairs” medical restriction. This medical restriction expired on 11/8/2019.

Your medical restriction was reviewed by a medical provider on 11/13/19, and amended to “no stair climbing in
‘housing unit.” Based on this modification; an ADA Reasonable Accommodation for state car was not indicated. '

If your medical condition changes or you choose to be reconsidered you must reapply for an ADA Reasonable
Accommodation.

I trust this addresses your concerns.

Singerely,
ichael Rodrigues

Superintendent

ce: Comm. Log #40084
file

MR/alr

“Accredited by the Commission on Accreditation for Corrections”
Case 1:20-cv-12093-NMG Document 1-2 Filed 11/20/20 Page 11 of 22

26 June 2019

TO: Carlos Flores, Sr., NP
RE: Return of All KOP Medications

NP Flores:

Respecting your prior request to contact you directly before
communication with Dr. Angelis, I write today with a problem
concerning my KOP medications.

On 20 June 2019, I had approximately 11-KOP cards scanned,
as well as, those (35 Asthma/COPD inhalers prescribed. However,
on 24 June 2019, my cell was randomly searched, and all those
"empty" cards were confiscated.

Moreover, I continue to be without medications, and when I go
to the window, the nurse informs me that she has only (4) of the
fifteen medications I am prescribed, two of those I believe have
been discontinued, or replaced with new medications Ordered by you.

In sum, I have family members advocating my complaints to
various Public Administrators, and others with an interest in how
this matter is handled.

I close, hoping that you can provide me assistance, I am

Very Best Regards,

Emory G. Snell,Jr., W59191 / A2 #11B

/EGS
Ce: Lucas I. Silva, Esq.
Richard J. Shea, Esq.
Case 1:20-cv-12093-NMG Document 1-2 Filed 11/20/20 Page 12 of 22

 

 

 

 

 

\ CRIMINAL COMP LAINT | MIDDLESEX, ss. : | 1 o¢_2_ | District Court Department | Re
ws { . . - . | =
| |, the undersigned complainant, request that a criminal complaint issue against the accused charging the Ayer Dist. Court: |
offense(s) listed below. lf the accused HAS NOT BEEN ARRESTED and the charges involve: 25 FE. Main str.
HH, ‘ er, Ma.
| C ONLY MISDEMEANOR(S), | request 2 hearing L$ WITHOUT NOTICE because of an imminent threat of AYE; M 01432 |
| % BopILy INJURY G COMMISSION OF A CRIME 0 FLIGHT (0 WITH NOTICE fo accused. |
| 5 ONE OR MORE FELONIES, | request a hearing Bi WITHOUT NOTICE 0 WITH NOTICE to accused. i
: ‘ ‘ , -ARREST STATUS OF ACCUSED
CWARRANT is requested because prosecutor represents thet accused may not appear unless arrested.

     

 

  

  
 
 
 
  

O HAS . & HAS NOT been arrested

 

  
 

     

 

 

 

     
   
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. partes pitas =. AG
NAME (FIRST MI LAST) AND ADDRESS BIRTH DATE |) SOCIAL SECURITY NUMBER
unknown unknown
[ Michelle L. LaFountain | PCF NO. MARITAL STATUS
MCI-Shir-Med, unknown | unknown
P.O. Bx. 1218 DRIVERS LICENSE NO. STATE
1 Harvard Rd. : - unknown MA.
Shirley, Ma. 01464 "| GENDER HEIGHT WEIGHT EYES
‘| , i | |Female | 5'8" | 135 BRN
HAIR RACE COMPLEXION | SCARS/MARKS/TATTOOS “T BIRTH STATE OR COUNTRY DAY PHONE
BLK WHT | Fair unknown | MA. (978) 425-4341
BRios | | Maree s Manis NAME (FIRST Mi LAST) ae Ss aly (FIRST Mi LAST)

 

     
  
  

 
 

COMPLAINANT NAME (FIRST MI LAST)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
  
   
   
   

 

 

 

 

te COMPLAINANT TYPE PD
[EMORY G. SNELL,JR. | | Pouce & cmzen O OTHER unknown
ADDRESS PLACE OF OFFENSE
1 Harvard Rd. MCI-Shir-Med 1 Harvard Rd.
Shirley ; Ma. 01464-1218 INCIDENT REPORT NO. 5 OTN
= NONE - NONE
CITATION NOXS}.
L_ _| | NONE
OFFENSE GODE DESCRIPTION OFFENSE DATE
; c.265, §13K(e) Missal & Battery. disabled person 1 july 19.
VARIABLES (e.g. victim name, controlied substance, type and value of property. other vanable information; see Complaint Language Manual) . :
On that date, defendant refused to provide medications, causing towit, assualt/battery
OFFENSE CODE DESCRIPTION OFFENSE DATE
5 c.266, §30(5) Larency under $250 (11-counts) person over sixty 1 July 19
VARIABLES
defendant by unlawful means did steal (11)blister packs of meds valued under $250 from 60yr.old
OFFENSE CODE DESCRIPTION - (OFFENSE DATE
c.274, §7 lonapimacy to commit larcency . 1 july 19
VARIABLES

 

 

defendant conspired w/Arsenault to steal dr. prescribed ({f-blister packs ) medications

 

 

 

        

     
 
 
   

 

REMARKS COMPLAINANT'S SIGNATURE DATE FILED

Additional Offenses (Reverse Side) x 7 2 July 2019

GOURT USE ONLY | AHEARING UPON THIS COMPLAINT APPLICATION } DATE OF HEARING TIME OF HEARING | COURT USE ON!

> | WILL BE HELD AT THE ABOVE COURT ADDRESS ON AT © —_——“7“——
TEE aD Ee ENON) 3 SME Feta s:

‘NOTICE SENT OF CLERK’S HEARING SCHEDULED ON: i
NOTICE SENT OF JUDGE'S HEARING SCHEDULED ON:
HEARING CONTINUED TO: .
APPLICATION DECIDED WITHOUT NOTICE TO ACCUSED BECAUSE:

C0 IMMINENT THREAT OF 0) BODILY.INJURY [1 CRIME 0 FLIGHT BY ACCUSED.
(C0 FELONY CHARGED AND POLICE DO NOT REQUEST NOTICE :
OE AT CLERK'S DISCRETION

 

 

 

 

 

   
   
 
 
  

 
  
  

+o
0 REQUEST OF COMPLAINANT

  

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[CD FACTS SET FORTH IN ATTACHED STATEMENT(S) 0 FAILURE TO PROSECUTE _
[CD TESTIMONY RECORDED: TAPE NO. CO AGREEMENT OF BOTH PARTIES
START NO. END NO, 0) OTHER:
[0 WARRANT [1 SUMMONS TO ISSUE COMMENT

ADR LIGNWENT MATE

 
Case 1:20-cv-12093-NMG Document 1-2. Filed 11/20/20 Page 13 of 22

OFFENSE CODE | : DESCRIPTION . | : | OFFENSE DATE

 

_ #4 - c.265, §37 Civil Rights Violation a "1 july 19

 

Variables - defendant's criminal intent to deprive complainant of life-saving chronic
care critical heart; blood pressure; hypertension & other crucial medicals, did
with said criminal intend, wantonly deny complainant of civil rights and
‘immunities afforded by the Massachusetts and United States Constitutions, .

 

#5 - ¢.265, §43A Criminal Harassment | _ 1 july 19

 

Variables - defendant's acts and omissions in that unlawful theft of doctor prescribed
chronic care critical heart;blood pressure;hypertension; & other crucial life -
saving medications, under cloak of goverment authority, is w/o due process
especially, through lack of any legitimate discretion, such:telling for the
exact purpose to use speech to intentionally inflict mental/physical duress. -

 

#6 - c.274,; §4 Accessory after the fact | ‘1 july-10

 

Variables - defendant after the 24: june 2019 unlawful theft, on 1 july 2019, after the
-' fact, was expressly responsible for depriving complainant of life-saving chronic
care critical heart;blood pressure ;hypertension; pulmonary & other crucial”
doctor prescribed medications, and with such criminal intent to ascertain that
any physical/mental duress would be intentionally inflicted with no regard. to
the distinct probability of death from those unlawful after the fact acts.

 

#7 = c.265, §29'  —- Assault w/intent to commit a felony “1 july 19

 

Variables - defendant acting after the fact, did with specific intent assault and
‘commit a felony, towit, conspire w/Arsenault to steal complainant's chronic
care - heart;blood pressure;hypertension; pulmonary & other crucial life-saving
doctor ordered KOP medications. Further by depriving complainant of those
aforesaid chronic care critical life-saving medications, defendant did with .
criminal intent commit a felony on complainant by such assault physically/
mentally, causing duress, from those underlying ##1-6 felony offenses.

#8 .- c.266, §30 Larency 1 july 19.

 

prescribed. In so stealing that controlled medication, defendant intentionally .
and with criminal intent, did deprive, control, or convert such property to

deny complainant those medications permanently. The collective value of those
li-medical blister packs exceeded $250 dollars. —

#9 - c.266, §51 Embezzlement . oo 1 july 19

 

Variables - defendant while (1) ina position of trust or confidence that was entrusted
. with possession of personal property belonging to another person (2) took that
property without consent of the owner (3) did so with specific intent to
deprive complainant (owner) of that property (11-blister packs of medications)
permanently, and in so doing, caused complainant to suffer mental/physical duress
and chance of death. — .
Case 1:20-cv-12093-NMG Document 1-2 Filed 11/20/20 Page 14 of 22

 

 

 

 

 

a
STATEMENT OF FACTS APELIGRTION BO. frat use on? — 9 | Trial Court of Massachusetts ue } |
IN SUPPORT OF 4 or£ |pistrict Court Department <7
APPLICATION FOR CRIMINAL COMPLAI NT 5
COURT DIVISION
The undersigned alleges the iollowing as a C1 jul or [X] partial statement AYER DISTRICT COURT
of the factual basis for the offense(s) for which a criminal complaint is sought. 25 E. Main Str.

 

Aver, Ma. 0143?

 

 

On 1 July 2019, complainant Bory G. Snell,Jr. ("Snell"), did seek the return of those
unlawfully stolen doctor prescribed chromic care - critical blood pressure; heart;

hypertension; pulmonary & other crucial life-saving medications. The defendant as detailed
hereto, #1-9, did with criminal intent, after the fact, commit a felony, by barring

Me. Snell with those aforementioned life-saving medications. Defendant at the time of

those hereinbefore described criminal offenses, did in fact, know that complainant was a
person of sixty-threes, and that defendant was in a trusted position, whose duty it was

to ascertain that complainant at all times was properly possessing of doctor prescribed
mediciations. As detailed by those individual criminal offenses, defendant individually
and in concert with Timothy J. Arsenault, did conspire to deprive complainant—of all _these—
life-saving medications, with reckless and callous disregard for complainant's health, and

well-being, with such full knowledge that those life-saving medications were-presexibed.

for serious and fatal medical conditions complainant has suffered for more than (2) decades.
This criminal complaint is brought out of the Emergency situation that now-excists:

pas cl ase
SADSOCO,. MrrhoeL
the imminent cause of death. Defendant was fully knowledgeable that complainant was over _

sixty-threes ‘old, and her indifference by stealing thoselife-saving medications-is-prima

facie evidence of that criminal intent to cause complainant serious and grievous bodily

injury/barm. Inassailably, it is without any. doubt thatthe 14+ mediesat bHster packs WELE

specifically prescribed to the complainant, and therefore property of the complainant, as

i molai i idis dis) edt bs 1 3 x
evinced by complainants name—appearing—on each individual medieat blister pack, ad as Suc,

each did not come into the possession of the defendant with such wilfull consent of the

* * re shes (a
complainant.__Penultimately,_defendant amder—contract te—tne Common

i !
and by such symbiotic relationship, was a de facto government employee, acting under the
laws _of the Massachusetts Constitution, Statutes, and Regniations. Fimattly, at io time

did complainant consent to the defendants’ taking of his life-saving critical heart; blood

+ =) thaw. le ES
pressure; hypertension ; pulmonary Ana Other Meareacroris.

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Signed, this 2nd day of July 2019 under pain and penalty of perjury.

 

 

 

 

 

 

(Use additional sheets if necessary)

 

PRINTED NAME SIGNATURE \AMA ; ; DATE SIGNED -
[7 LAW ENFORCEMENT OFFICER
Emory G. Snell,Jr X DX] CIVILIAN COMPLAINANT OR WITNESS | 2jul 19

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BF Wey ee ERR Oe DEER g CLERIGMAGISTRATE / ASST.

 

 

 

 

 

 

REMARKS SIGNATURE OF CLERK-MAGISTRATE / ASST.CLERK / JUDGE DATE SIGNED

 

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Case 1:20-cv-12093-NMG Document 1-2 Filed 11/20/20 Page 15 of 22

EXHIBIT
“R 99
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The Commonwealth of Massachusetts

   

Executive Office of Public Safety L Security
Department of Correction
50 Maple Street, Suite 3
Milford, MA 01757
Tel: (508) 422-3300 CAROL A. MICI
www,mass.gov/doc mene
JOHN A. O'MALLEY
Chief of Staff
ekevieceterts CHRISTOPHER M, FALLON
Lieutenant Governor . - MICHAEL G. GRANT
AUL J. HEND!
i ae . THOMAS J. PRESTON
Deputy Commissioners

November 6, 2019

Mr. Emory Snell #59191
MCI Shirley

RE: Appeal from Denial of Request for Reasonable Accommodation
Dear Mr. Snell:

| am in receipt of your Appeal from Denial of Request for Reasonable Accommodation that was received In my office on September 47, .
2019. | have thoroughly reviewed your appeal and the request for a reasonable accommodation to have alternative transportation via a-
state car and posey leg restraints due to your reported osteoarthritis in both knees. | personally met with you on October 4, 2019 to discuss
your request for reasonable accommodation. At that meeting you indicated that the Health Services Unit at MC! Shirley had authorized you
to have an approved medical restriction for soft posey leg restraints. You also provided an active medical restriction for “no stair climbing”
that Is currently effective from November 8, 2018 to November 8, 2019. | have consulted with Ms. Michelle LaFountain, RN, MSN, Health
Services Administrator, Wellpath, at MCI Shirley to determine if you have been assessed for your reported impairment by the Medical
Provider and if there was an active medica! restriction for “no stair climbing’. It has been confirmed that you have an active ‘no stair
climbing” medical restriction that expires on November 8, 2019. Based upon the active medical restriction for “no stair climbing” you will be
granted a reasonable accommodation of altemative transportation via a state car if you need to be transported out of the facility. This
reasonable accommodation for alternative transportation via state car will ba effective up until November 8, 2019 at which time your medical
status will again be reviewed by the Medical Provider at MCI Shirley to determine if your physical impairment requires the continuation of a
“no stair climbing" order. ‘Your request for a soft posey restraint is granted as a medical restriction and is effective from September 10, 2019
to September 4, 2020. If you require additional medical evaluations please submit a medical sick call request to the Health Services Unit at
MCI Shirley where your request will be reviewed and responded to appropriately. ,

Based upon the totality of information and documentation | was able to review regarding your appeal, your request for a reasonable
accommodation for altemative transportation via a state car for outside transportation is granted at this time. My review concluded that you
have an active "no stair climbing” medical restriction that Is active from November 8, 2018 to November 8, 2019. | am requesting the
Medical Provider to review and assess your current medical condition and to make a determination if the “no stair climbing” restriction will
be extended beyond the November 8, 2019 expiration date. The Health Services Unit will notify you of this review and assessment. Also,
you have been granted an approved reasonable accommodation of'soft posey restraints as a medical restriction effective from September
10, 2019 to September 4, 2020.

if you have any further questions regarding your granted reasonable accommodation request, please send me a written correspondence in
order that | can address your eencems. All correspondence can be sent to my attention at 50 Maple Street, Milford, MA 01757.

Sd,
epartrnent ADA Coordinatorfor Inmates

Health Services Division

Cc: Ms. Suzenns Thibault, Superintendent, MCI Shirley
of (institution ADA Coordinates), MCI
Mz Michels alentale, RN. Health Service Admistertor, Wella, MCL Shirley’
 

 

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medical condRion: :
TYEE: BATE

NO WORK STATUS
LIGHT WORK STATUS

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TRANS on ONS ns &

 

WAISTCHAINS WITH (CIRCLE)
RIGHT OR LEFT EXTENSION’ __
STATE CAR

WHEELCHAIR VAN

 

 

DOC 013010

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Case 1:20-cv-12093-NMG Document 1-2 Filed 11/20/20 Page 18 of 22

3 February 2020 ; EMORY G. SRELL,JR.
1 Harvard Rd.

Shirley, Ma. 01464-1218
Steven Descoteaux, MD
Wellpath/css
Suite 250
16 Chestnut Str.
Foxborough, Ma. 02035

Re: 29 May 2019 - LSH "Dilated Aorta"

Dear Dr. Descoteaux:

Recently received LSH medical records of 29 May 2019, detail
_ that among other things, Dr. John Cadigan, a heart specialist,
diagnosed me with a " ilated aorta." See, Assessment p.2.

Accordingly, when I was returned to MCI-Shir-Med., that same
day, neither Carlos Flores, or Maria Angeles, brought this to my
attention, or made any recommendations as to treatment. In fact,
a mere 5-days later, I was rushed by ambulance to UMASS Memorial
Leominster, and diagnosed with "Pneumonia." See, Attachments.

Dr. Cadigan further diagnosed that "...[I]t is extremel
important to treat his blood pressure. I would up-titrate his
losartan, following his BUN and creatinine. He may require
additional medication. As he is said to be intermittently
asthmatic, he may not tolerate beta blockers. ..." id.

Suffice it to say, nothing has been done to follow up on Dr.
Cadigan's specialized recommendations, hence, my writing to you,
in that capacity as Wellpath/CCS medical director. Additionally,
Emil Petria a year ago, complained of chest pain, and when your
Shirle Medical Staff ignored his complaints, shortly after
returning from LSH, he died of a heart attack. I do not expect to
end up dead because of medical malfeasance.

I close, enclosing those LSH medical records, and anticipate
your direct intervention, and prompt treatment in accord with Dr.
Cadigan's specialized recommendations. I am

Truly, ... ..
: p)
ae
Emory CG. Snell - 9 59191
/EGS

Co: lucas I. Silva, Esq.
encls., LSH medical records
Case 1:20-cv-12093-NMG Document 1-2 Filed 11/20/20 Page 19 of 22

é wellpathi

" 9/2/20

TO; Emory Snell, Jr. W59192
MCI Shirley

Mr. Snell,

Thank you for your fetter and for including the recommendations from Dr. Cadigan. We will make sure
you get the one (1) year follow-up ECHO cardiogram by June 2020. | also learned that there had been an
issue regarding KOP medications that has since been resolved with DOC, | agree that blood pressure
control Is of utmost importance.

Respectfully,
Dr. Steven Descoteaux, MD
Statewide Medical Director
Case 1:20-cv-12093-NMG Document 1-2 Filed 11/20/20 Page 20 of 22

EXHIBIT
ec 99
Case 1:20-cv-12093-NMG Document 1-2 Filed 11/20/20 Page 21 of 22

2 November 2020 EMORY _G. SNELL,JR.

1 Harvard Rd.
Shirley, Ma. 01464-1218

Division of Health Professions Licensure
c/o Complai nts

239 Causeway Str.

Boston, Ma. 02114

Re: Medical Malpractice / Imminent Death

To Whom It May Concern:

Presently, I am unconstitutionally imprisoned as an Actual Innocent. That false

risonment causes me to suffer irreparable medical malpractice at the hands of:
(1) Carlos Flores,Sr. NP, and (2) Michelle LaFountain,RN, who are employed by
Wellpath/CCS, Suite 250, 16 Chestnut Str., Foxborough, Ma. 02035, under the
supervision of Wellpath Medical Director, Steven Descoteaux,MD.

My complaint is, that on or about 1998, I was issued for an Indefinite period, a
"Special Medical Needs Restriction” for "difficulty climbing stairs,” due to severe
DJD/OA. On 8 Nov. 2018, Dr. Lawrence Churchville 22 physician with more than 4-decades
of medical practice, issued a "No Stairs Climbing" special medical needs restriction,
but was allegedly constrained to do so for one-year. On or about 11/12 Nov. 2018, upon
medical evaluation by Carlos Flores,Sr., NP., Flores remarked: "I see no need for that
(No Stair Climbing] Order."

On or about 6 Nov. 2019, Dep't of Correction (DOC) ADA coordinator James O'Gara, issued
a reasonable accommodation for “car" transport, due specifically, because of the 'No
Stair Climbing’ Order. However, true to his word, on or about 19 Nov. 2019, Flores,
without (a) physical examination; (b) MRI; or (c) CAT scan modified Dr. Churchville's

8 Nov. 2018 Order, to restrict me to 'No Stair Climbing in the housing unit.' I am

not aware of Flores orthopedic skills, experience and knowledge, but on 22 March 2019,
received a written evaluation from orthopedic surgeon, Michael G. Kennedy,MD,PC,FRCS(C),
of 6 Union Str., Natick, Ma. 01760 (508)655-5115, where he applied his special orthopedic
skill, knowledge and experience, finding that without a No Stairs Climbing restriction,
",..[A]lny significant stress placed across the patellofemoral joint in ascending and

descending stairs puts Mr. snell in danger of falling. ..." (emphasis added).

Additionally, 4/12/19, John Cadigan,MD, a cardiologist by Echocardiogram found that both
my (a) aorta is dilated, and (b) my ascending root has progressed beyond their respective
upper limits. Dr. Cadigan Ordered a follow up in a year (June 2020). However, due to
that gross negligence/medical malpractice of Flores, the ADA ‘car’ transport was revoked,
and two follow ups were denied in Aug. 2020, and on 9 Oct. 2020. The seriousness of

my cardiac condition cannot be understated, recommendations for elective surgery at this
stage is highly recommended to extend mortality. See, Surgical Treatment of the Dilated
Ascending Aorta: When and How? M. Arisan Ergin,MD; 1999 The Society of Thoracic Surgeons.
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Div. of Health Professions Licensure; c/o complaints
2 Nov. 2020 - pg.2

Re: Medical Malpractice / Imminent Death

In sum, directly attributable to Carlos Flores,Sr., I am in fear of imminent death,
should my dilated aorta rupture. "there is very little doubt that the occurrance of
rupture or dissection is a catastrophic event that changes the natural history of a
dilated ascending arota dramatically. Rupture uniformly, and dissection in the vast
majority of the patients is fatal without urgent surgical treatment, which carries a
substantially higher risk than elective surgery. Even if the patient survives the
acute incident as the result of a successful operation or proceeds into the chronic
phase of the dissection, he will remain at higher risk for distal aorta-related
complications, which are the most important determinants of long-term survival in
most cases. ..."' Ergin, et al. (emphasis added).

 

Accordingly, I make this complaint on Carlos Flores,Sr., arising from his gross negligence,
&/or medical practice, which has placed my health and mortality in imminent jeopardy,
by aorta rupture, when it is his sworn responsibility to "Do No Harm."

I close, expecting a thorough investigation, and have enclosed significant medical
documentation to underscore my claims. Of course, should further documentation be
required, please contact me, so I may correspond with Lucas I. Silva, Esq. of Foley
Lardner LLP of Boston. Attorney Silva has thousands of medical documents at his
disposal, and will gladly assist me in prosecuting Flores reckless and callous
disregard for my health, safety and well being. I thank you in advance, I am

Sincerely,

a | ar

C tinory G. Snell,Jr.

/EGS
CC: Lucas I. Silva, Esq.
encls.
